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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                   :
                                           :
                                           :       No. 1:21-cr-175 (TJK)
          v.                               :
                                           :
                                           :
ETHAN NORDEAN, et. al.,                    :
                                           :
                     Defendants.           :

                                   NOTICE OF FILING

       Pursuant to the Court’s scheduling order, ECF No. 426, the government files the attached

updated expert notice for FBI Forensic Examiner Jennifer Kathryn Kain.

                                           Respectfully Submitted,

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